October 14, 2005


Ms. Marianne R. Sulser
Brown McCarroll LLP
1111 Bagby, 47th Floor
Houston, TX 77002

Ms. Lisa Powell
Atlas &amp; Hall, L.L.P.
P. O. Box 3725
McAllen, TX 78501
Honorable Rose Guerra Reyna
206th District Court
100 N. Closner, 2nd Floor
Edinburg, TX 78539

RE:   Case Number:  04-0061
      Court of Appeals Number:  13-03-00289-CV
      Trial Court Number:  C-2020-02D

Style:      IN RE  H&amp;R BLOCK FINANCIAL ADVISORS, INC. AND ROBERT BULLOCK

Dear Counsel:

      Today the Supreme Court  of  Texas  granted  the  Renewed  Motion  for
Temporary Relief and issued the enclosed stay order in the  above-referenced
case.  The petition for writ of mandamus remains pending before this Court.
                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Ms. Cathy      |
|   |Wilborn        |
|   |Mr. Omar       |
|   |Guerrero       |

